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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

EMMANUEL CORNET, JUSTINE DE
CAIRES, GRAE KINDEL, ALEXIS
CAMACHO, JESSICA PAN, EMILY
KIM, MIGUEL BARRETO, and BRETT C.A. No. 1:23-cv-00441-TMH
MENZIES FOLKINS, on behalf of
themselves and all others similarly
situated,

                       Plaintiffs,

               v.

TWITTER, INC.

                           Defendant.


    PLAINTIFFS’ MOTION TO PROVISIONALLY SEAL NOTICE OF
   SUPPLEMENTAL AUTHORITY AND ACCOMPANYING EXHIBITS


Shannon Liss-Riordan (pro hac vice)                  Kate Butler, Bar I.D. No. 6017
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      Pursuant to this Court’s Manuals on filing, including Electronic Filing Tips

for Attorneys and Electronic Filing of Sealed Civil Documents, Plaintiffs hereby

move to provisionally seal their Notice of Supplemental Authority (attached as

Exhibit 1) and accompanying exhibits (attached hereto as Exhibits 2-6

respectively).

      The Notice of Supplemental Authority informs the Court of four arbitration

awards (Exhibits B-E) that Plaintiffs’ counsel have obtained on behalf of former

Twitter employees who brought claims against Twitter in arbitration. Exhibit F is

an arbitration demand that provides context. The Notice of Supplemental Authority

(Exhibit A) also provides some detail and context for those awards.

      Because Twitter takes the position that arbitration awards are confidential,

Plaintiffs have filed the documents under seal.

      Plaintiffs therefore request leave to provisionally file Exhibits A-F under

seal. Because the arbitral awards contain some personally identifying information,

if the Court is disinclined to permit the entirety of the documents to be filed under

seal, Plaintiffs respectfully request the opportunity to submit redacted versions

removing identifying information for the Claimants in those arbitrations.




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Dated: November 26, 2024           Respectfully submitted,

                                   EMMANUEL CORNET, JUSTINE DE
                                   CAIRES, GRAE KINDEL, ALEXIS
                                   CAMACHO, JESSICA PAN, EMILY KIM,
                                   MIGUEL BARRETO, and BRETT
                                   MENZIES FOLKINS, on behalf of
                                   themselves and all others similarly situated,

                                   By their attorneys,

                                   /s/ Kate Butler
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                                   Kate Butler Law LLC
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                         CERTIFICATE OF SERVICE

      I, Kate Butler, hereby certify that a true and accurate copy of the redacted

version of this document was served on all counsel of record for Defendant via

filing on the Court’s CM/ECF system and that Plaintiffs have served the sealed

version of this document on Defendant’s counsel via email on November 26, 2024.


                                       /s/ Kate Butler
                                       Kate Butler




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